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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

ABILENE DIVISION
UNITED STATES OF AMERICA )
)
v. ) NO. l:lS-CR-OSO-Ol-C
) ECF
ROGELIO SANCHEZ )

PRETRIAL NOTICE AND ORDER
TRIAL DATE: SEPTEMBER 4. 2018. AT 9:00 A.M.
COUNSEL AND ALL PARTIES WILL TAKE NOTICE:

The above criminal case is set for trial on the date and time indicated in the United States
District Court, Lubbock, Texas. Each party and attorney is ordered to comply With the
following:

A. The deadline for filing all motions is August 14, 2018.

B. Each counsel shall serve on opposing counsel and file With the Clerk proposed
jury instructions and issues (with authorities) and a proposed verdict form at least seven (7) days
before the scheduled date for trial. At the same time, counsel shall submit to the Court in Writing
an estimate of the length of trial.

C. ALL EXHIBITS EXCEPT IMPEACHMENT DOCUMENTS ARE TO BE
MARKED WITH THE CASE NUMBER AND STYLE OF THE CASE ON EACH EXHIBIT
and exchanged With opposing counsel at least three (3) days before the scheduled date for trial.

D. At least three (3) days before trial, counsel shall furnish a list of all exhibits and
Witnesses, except those offered solely for impeachment, to opposing counsel, the Clerk, and the

Court Reporter.

 

 

 

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E. Attorneys are not required to submit proposed voir dire questions Attomeys Will
be permitted to conduct voir dire of the jury panel, subject to further order of the Court.
F. No more than three (3) character Witnesses may be called to testify for any given

Defendant.

G. Any party not represented by an attorney is expected to comply With this order.

 
  

IT IS SO ORDERED.

DatedJuly /%,2018.
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SA . CU GS
,, OR l D STATES S CT JUDGE

